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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
RICHMOND DIVISION
Case No. 3:24-cr- O30
UNITED STATES OF AMERICA
18.U.S:€. § 1349
V. Conspiracy to Commit Wire Fraud
(Count 1)
LUIS LEE,
Defendant. Forfeiture Allegation

CRIMINAL INFORMATION

THE UNITED STATES ATTORNEY CHARGES THAT:

INTRODUCTORY ALLEGATIONS

ls In or about July 2019, the defendant, LUIS LEE (“LEE”), began working at
Company A as a Senior Financial Analyst. LEE was promoted to Treasury Manager in or about
October 2022.

2 In or about May 2019, a co-conspirator (“CC-A”) began working as the Chief
Financial Officer (“CFO”) of Company A. CC-A recruited LEE to join Company A in part
because the two individuals had worked together previously.

3: Company A is a behavioral health services provider headquartered in
Fredericksburg, Virginia. Company A operates counseling and therapy programs, a foster care
program, and programs focused on autism and intellectual and developmental disabilities.
Company A has approximately 4,500 employees, and it operates in approximately 18 states and

the District of Columbia.
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4, As the CFO of Company A, CC-A was responsible for planning, controlling, and
directing the fiscal and information technology operations for the business. CC-A oversaw
budgeting, accounting, purchasing, payroll, facilities, audit, revenue management, and
reimbursement, among other aspects of the company. CC-A reported directly to Company A’s
Chief Executive Officer and had at least seven employees as direct reports.

5. As Senior Financial Analyst and Treasury Manager, LEE was responsible for
monitoring Company A’s bank accounts and payment processing, ensuring quality standards with
third-party vendors, conducting risk and cash flow forecasting, and working with internal and
external auditors, among other responsibilities.

6. LEE and CC-A both resided in New York and routinely worked remotely during
their tenures at Company A. LEE and CC-A often traveled to Company A’s headquarters in
Fredericksburg, Virginia to carry out their duties.

7. Company A terminated its employment of the defendant and CC-A in or about
December 2022 after discovering that the defendant and CC-A had misappropriated funds from
Company A. Around the same time, Company A engaged an outside law firm and an independent
accounting firm to conduct an internal investigation of the defendant’s and CC-A’s
misappropriation of funds. The primary purpose of the internal investigation was to benefit
Company A’s business operations by determining the defendant’s and CC-A’s means of
misappropriation, identifying lost funds, and improving accounting controls and procedures.
Company A paid approximately $170,386 for professional services related its internal

investigation of the defendant’s and CC-A’s misconduct.
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COUNT ONE
Conspiracy to Commit Wire Fraud
8. The preceding paragraphs are incorporated herein.
9. From in or about March 2020 through in or about December 2022, in the Eastern

District of Virginia and elsewhere, the defendant, LUIS LEE, knowingly and unlawfully conspired
with CC-A and others known and unknown to commit an offense contained within Chapter 63 of
Title 18 of the United States Code, to wit: Wire Fraud, that is, to knowingly devise and intend to
devise a scheme and artifice to defraud and to obtain money and property by means of materially
false and fraudulent pretenses, representations, and promises, in violation of Title 18, United
States, Code, Section 1343.

Purpose of the Conspiracy

10. The purpose of the conspiracy and the scheme and artifice to defraud was for CC-
A and LEE to fraudulently obtain funds from Company A to which they were not entitled.
Ways, Manner, and Means of the Conspiracy
11. The ways, manner, and means by which CC-A and LEE sought to accomplish the
conspiracy operated in substance as follows:
A, Use of Fictitious Vendor, JKemp Consulting LLC
i. Between in or about March 2020 through in or about April 2021, CC-A and
LEE caused Company A to pay approximately $1,140,000 to a fake vendor called JKkemp
Consulting LLC (hereafter “JKemp”). CC-A and LEE were the beneficial owners of and
controlled JKemp.
ii. JKemp never provided services or goods to Company A. CC-A and LEE
created JKemp as a shell entity to facilitate the misappropriation of funds from Company

A. Company A personnel, other than CC-A and LEE, were not aware of the fraudulent
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business relationship with Jkemp. Likewise, CC-A and LEE concealed from other
Company A leadership that CC-A and LEE were the beneficial owners of and controlled
JKemp.

ili. CC-A and LEE incorporated JKemp Consulting LLC on or about March 23,
2020 in the state of Delaware. On or about March 26, 2020, CC-A created an email account
with the address jkempconsultinglle@gmail.com. LEE opened a business checking
account for JKemp at Wells Fargo on or about March 30, 2020. LEE was the sole signatory
on the JKemp Wells Fargo account. No one other than CC-A and LEE had an interest in
or control over JKemp, and JKemp’s sole source of income was its fraudulent receipt of
funds from Company A.

Iv. CC-A drafted a fraudulent engagement letter dated March 2, 2020
purporting to reflect an agreement between JKemp and Company A in which Company A
agreed to pay JKemp $100,000 per month in exchange for “various strategic and consulting
services.” The fraudulent engagement letter bore the signature of CC-A, purportedly on
behalf of Company A, and an individual claiming to be “James Kemp,” on behalf of
JKemp. Company A did not authorize CC-A to enter this agreement on behalf of Company
A.

Vv. On or about March 26, 2020, CC-A drafted the first fraudulent invoice from
JKemp to Company A for $100,000. On that day, CC-A sent the fraudulent engagement
letter and the first fraudulent invoice from the jkempconsultingllc@gmail.com email
account to CC-A’s Company A email address. CC-A then forwarded the fraudulent
documents to two of his direct reports in Company A’s accounting department to process.

In the email attaching the fraudulent documents, CC-A directed his employees to “cut the
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check today [so] I can hand deliver it to him during this weekend [sic] meeting.” In truth
and in fact, CC-A did not meet with any representative of JKkemp that weekend.

Vi. CC-A continued to submit fraudulent JKkemp invoices, usually once a
month, until in or about April 2021. In total, CC-A drafted and submitted 12 fraudulent
JKemp invoices, each of which his employees processed for payment in accordance with
CC-A’s instructions. LEE was responsible for processing wire transfer payments for some
of the fraudulent invoices, which LEE knew full well were fraudulent. The fraudulent

invoices are summarized below.

JKemp Fraudulent Invoices
Submission Date Amount
(on or about) (approximate)
3/26/2020 $100,000
4/22/2020 $100,000
5/25/2020 $100,000
8/7/2020 $100,000
8/12/2020 $100,000
9/12/2020 $100,000
12/9/2020 $60,000
1/12/2020 $80,000
1/21/2021 $120,000
2/26/2021 $100,000
3/24/2021 $80,000
4/21/2021 $100,000
TOTAL $1,140,000
Vil. After Company A issued payments based on the fraudulent JKemp invoices,

CC-A and LEE divided the proceeds between themselves for their own personal benefit.
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Vili. For example, on or about March 30, 2020, a Company A check for
$100,000, constituting Company A’s payment for the first fraudulent JkKemp invoice, was
deposited into the Jkemp Wells Fargo account. A few days later, CC-A deposited a
$70,000 check from the Jkemp Wells Fargo into CC-A’s personal checking account at TD
Bank.

ix. Similarly, on or about August 25, 2020, LEE deposited a $25,000 check
written from the JkKemp Wells Fargo account into LEE’s personal checking account at
Chase Bank.

B. LEE Tuition Reimbursement
i. CC-A and LEE further sought to accomplish the purposes of the conspiracy
by fraudulently obtaining approximately $177,962 in tuition reimbursements from
Company A for LEE’s purported enrollment in Hofstra University’s Master of Business
Administration program. In truth and in fact, LEE never enrolled in Hofstra’s MBA
program.

il. Company A allowed employees to seek reimbursement for certain approved
educational expenses. Under Company A policy and practice, employees seeking
reimbursement must first receive approval from their management to obtain a maximum
reimbursement of $5,250 per year.

ill. Between in or about November 2020 through in or about December 2022,
CC-A drafted false documentation bearing Hofstra’s logo that purported to reflect LEE’s
attendance in Hofstra’s MBA program. On approximately four occasions, CC-A sent this
false documentation to LEE and directed LEE to finalize fraudulent reimbursement

requests for Company A to process. As instructed, LEE submitted the fraudulent
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reimbursement requests, which CC-A and LEE knew full well falsely stated that LEE
attended Hofstra’s MBA program.
iv. Company A believed the tuition requests and supporting documents to be

true and accurate, and it therefore issued the reimbursements.

LEE Fraudulent Tuition
Reimbursement Requests
Submission Date Amount
(on or about) (approximate)
12/17/2020 $5,250
2/19/2021 $5,250
1/25/2022 $5,250
11/29/2022 $162,212
TOTAL $177,962
Vv. Company A issued the final fraudulent reimbursement of $162,212—which

was far above the $5,250 reimbursement threshold—because CC-A directed an employee
in his department (“Employee 1”) to process the reimbursement request. LEE’s
reimbursement request included fraudulent supporting documentation, drafted in part by
CC-A, that indicated LEE was entitled to a tuition reimbursement of $100,829.

vi. On or about November 29, 2022, CC-A directed Employee | to “gross up”
the reimbursement payment to approximately $162,212 so that LEE would receive the full
amount requested after taxes and other deductions. In other words, CC-A directed that
Company A pay LEE approximately $162,212, of which approximately $61,383 would be
withheld from LEE as taxes and deductions, leaving the conspirators with a net payment

of $100,829 from Company A.
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Vii. Employee | processed the fraudulent payment of approximately $162,212
as directed by CC-A. LEE received a $100,829 deposit from Company A in his personal
checking account associated with this fraudulent tuition reimbursement request on or about
December 2, 2022. On or about December 5, 2022, LEE sent a wire transfer of
approximately $86,000 to CC-A’s personal checking account. On or about that same day,
CC-A paid more than $84,000 toward the mortgage on his personal residence.

G LEE Vacation Payout

k CC-A and LEE further sought to accomplish the purposes of the conspiracy
by fraudulently submitting, in or about April 2022, an approximately $6,000
reimbursement request seeking compensation associated with LEE’s purportedly unused
vacation time.

il. Company A corporate policy provided employees with a set allotment of
vacation hours each year and allowed employees to carry over 40 hours of unused vacation
time from year to year. The policy further stated that “[e]mployees who do not use their
allotted vacation time .. . each year will lose all but 40 of those unused vacation hours.”
The policy added that “[u]nused, earned and accrued vacation hours . . . will not be paid
out at the time of separation from employment with the company, unless required by the
respective state law.” Company A policy did not permit employees to receive payment for
unused vacation hours unless specifically provided for under state law at the time of an
employee’s separation from the company.

ili. On or about April 8, 2022, CC-A directed an employee in his department to
“pay out [LEE’s] entire vacation balance on the next payroll.” The employee processed

the payment as directed by CC-A, resulting in Company A paying LEE approximately
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$6,000. Company A policy did not authorize either CC-A’s directive to pay out LEE’s

unused vacation hours or LEE’s subsequent receipt of these funds. No Company A

executive other than CC-A was aware of or approved the $6,000 payment to LEE for

unused vacation time.

12. Intotal, CC-A and LEE misappropriated approximately $1,323,962 from Company
A through the manner and means of the conspiracy described above. CC-A received, directly or
indirectly through LEE, the great majority of funds misappropriated from Company A through the
conspiracy,

Wirings in Furtherance of the Scheme

13. In the Eastern District of Virginia and elsewhere, for the purposes of executing the
above-described scheme, CC-A and LEE knowingly and routinely caused to be transmitted by
means of wire communication in interstate commerce signs, signals, and writings, including those

described below.

Date

Interstate Wire Communication
(on or about)

9/14/2020 Wire transfer initiated by Company A from its Bank of America
account via the Federal Reserve’s Fedwire Funds Transfer System
(“Fedwire”) to the Jkemp Wells Fargo account.

3/24/2021 Wire transfer initiated by Company A from its Bank of America
account via Fedwire to the JkKemp Wells Fargo account.

4/21/2021 Wire transfer initiated by Company A from its Bank of America
account via Fedwire to the Jkemp Wells Fargo account.

12/2/2022 Wire transfer of Company A’s payment, via Automated Clearing
House (“ACH”), to LEE’s personal bank account for a fraudulent
reimbursement request.

(In violation of Title 18, United States Code, Section 1349.)
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FORFEITURE ALLEGATION
14, Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, the defendant is
hereby notified that if convicted of the offense charged in Count One of this Information, he shall
forfeit to the United States any property, real or personal, which constitutes or is derived from any
proceeds traceable to the offense.
15. Property subject to forfeiture includes, but is not limited to:
The sum of at least $1,323,962, which represents the amount of proceeds
the offenses charged in Count One, which sum shall be reduced to a money
judgment against the defendant in favor of the United States.
16. If the property subject to forfeiture cannot be located, the United States will seek
an order forfeiting substitute assets.
(In accordance with Title 18, United States Code, Section 981(a)(1)(C), as incorporated by
Title 28, United States Code, Section 2461 and Title 21, United States Code, Section 853(p).)

Respectfully submitted,

Jessica D. Aber
United States Attorney

Date: March 1, 2024 By: Lib

Robert S11 Day
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Thomas A. Garnett
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